       Case 3:09-cr-00994-JAH                           Document 94               Filed 01/23/13                PageID.322       Page 1 of 2



    ""AO 245D (CASD) (Rev, 1211 I) Judgment ill a Criminal Case for Revocations
                Sheet I


                                                                                                                        p~ 3= 01
                                              UNITED STATES DISTRICT am~~ 23                                                             .
                                                                                                                        f"   ,     J~{

                                                    SOUTHERN DISTRlCT OF CALIFO:,~~~s D"l,;': '\'.tn"lfGfY,'
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINA,.I}l:ASlE,rr'
                                         V.                                        (For Revocation aft>~;i;ed Release)
                          James David Gardetto        -1                           (For Offenses Committed On or After November 1, 1987)


                                                                                   Case Number: 09-cr-00994-JAH-1

                                                                                   Frank Torres Morell
                                                                                   Defendant's Attomey
    REGISTRATlON No. 13629298
o
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No .. .,:I.z;,2:;:.:,.:::,3:::,4:.;. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                         Nature of Violation
           1,2,3,4            Unlawful use of a controlled substance, Violent Crime Control Act (nv3a)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through               __
                                                                                                                       2_ ofthis judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attornev for this district within 30 days of any
    change of name, residence, or mailing address until all fines. restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Untted States Attorney of any material change in the
    defenaant" s econom ic circumstances.

                                                                                   January 17,2013
                                                                                   Date of Imposition of Sentence




                                                                                   UNITED STATES DISTRICT JUDGE




                                                                                                                                 09-cr-00994-JAH-1
      Case 3:09-cr-00994-JAH                          Document 94             Filed 01/23/13    PageID.323         Page 2 of 2


AO 245D (CASD) (Rev 12/11) Judgment in a Criminal Case for Re,ocatiollS
           Sheet 2  Imprisonment

                                                                                                Judgment          2 _ of
                                                                                                           Page _ _           2
 DEFENDANT: James David Gardetto                    -1
 CASE NUMBER: 09.cr-00994-JAH-l
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Eleven months.




    o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                          Da.m.       0 p.m.    on
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before ---------------------------------------------------------------
           o as notified by the United States MarshaL
           o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                       to

 at ___________________ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL


                                                                              By
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                   09-cr-00994-JAH-l
